 Case 21-40882       Doc 275      Filed 02/13/23 Entered 02/13/23 14:45:21            Desc Main
                                   Document     Page 1 of 2



                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA

In re:

Jeffrey Scott Cates and
Christine Therese Cici-Cates,                        Case No. 21-40882

               Debtors.                              Chapter 11 (Subchapter V)


         ORDER CONFIRMING CONSENSUAL PLAN AND FIXING TIME LIMITS


        The Fourth Modified Plan of Reorganization filed by Debtors, its proponents, under
Subchapter V of Chapter 11 [ECF No. 259] was transmitted to all creditors and other parties in
interest. The Fifth Modified Plan of Reorganization [ECF No. 269] was transmitted, pursuant to
the Court’s instructions, by ECF to all Registered Filers entitled to electronic service including
those parties to whom the modifications pertained. It has now been determined, after hearing on
notice, that the requirements for confirmation set forth in 11 U.S.C. § 1191(a) have been
satisfied.

         IT IS THEREFORE ORDERED:

       1.     CONFIRMATION OF PLAN. The Fifth Modified Plan filed by the Debtor on
February 10, 2023, and dated February 9, 2023, is confirmed.

       2.      PROFESSIONAL FEES AND OTHER ADMINISTRATIVE EXPENSES. All
applications for award of preconfirmation compensation or expenses to a trustee, examiner,
attorney or other professional person, and all other requests to order payment of an
administrative expense, must be made by motion under Local Rules 2016-1 or 3002-2, and must
be served and filed within 30 days after the date of this order. All applications for award of post-
confirmation administrative expenses must be made by motion under Local Rules 2016-1 or
3002-2, and must be filed no later than 30 days after the final payment of any Allowed Classified
Claim by the Debtors.

        3.     OTHER CLAIMS. Any proof of claim that may be filed to the extent and under
the conditions stated in Bankruptcy Rule 3002(c)(2), (c)(3), or (c)(4), as provided by Rule
3003(c)(3), must be filed within 30 days after the date of this order, or 30 days after the claim
arises, whichever is later, provided the Debtors gives timely notice to such claimants of the
deadline.

        4.      OBJECTIONS TO CLAIMS. All objections to proofs of claim must be made by
motion under Local Rule 3007-1, and must be served and filed within 30 days after the date of
this order, or 30 days after the claim was filed, whichever is later.


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 Case 21-40882       Doc 275     Filed 02/13/23 Entered 02/13/23 14:45:21           Desc Main
                                  Document     Page 2 of 2



        5.     OTHER PROCEEDINGS. All other motions, applications, or complaints shall be
filed within 60 days after the date of this order. Any time limit provided in this order may be
extended or waived by the Court for cause after notice and a hearing. Nothing in this order shall
preclude any proceeding in another court with jurisdiction and within time limits otherwise
applicable.

        6.      REPORT INFORMATION. A separate order is entered to require payment of
notice or claim charges and the reporting of payments made post-petition to date of confirmation
of the plan, and payments paid or to be paid thereafter, for pre-confirmation debts or
administrative expenses.

        7.     NOTICE OF SUBSTANTIAL CONSUMMATION. The Debtor shall file and
serve a Notice of substantial consummation as required by 11 U.S.C. § 1183(c)(2).

        8.      MAILING OF NOTICE. The Clerk will provide notice of entry of this order and
confirmation of the plan to the entities specified in Local Rule 9013-3 and to all creditors and
other parties in interest. The proponent of the plan must forthwith mail copies of this order as
notice thereof to all equity security holders of the Debtors.

        9.      DISCHARGE. As provided in the plan pursuant to 11 U.S.C. § 1141 and
notwithstanding approval of the plan under § 1191(a), 11 U.S.C. § 1192 shall apply such that the
debtors shall be discharged as soon as practicable after completion of all payments due within
the term of the plan, upon notice and motion of the debtors.




                                                       /e/William J. Fisher
Dated: February 13, 2023                            ________________________________
                                                    William J. Fisher
                                                    United States Bankruptcy Judge




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